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16
                              UNITED STATES DISTRICT COURT
17
                                    DISTRICT OF NEVADA
18
     RIMINI STREET, INC., a Nevada corporation,     Case No. 2:14-cv-01699 LRH CWH
19                            Plaintiff,
                                                   ORACLE’S NOTICE OF CHANGE OF
20          v.                                     ADDRESS
21   ORACLE AMERICA, INC., a Delaware
     corporation; and ORACLE INTERNATIONAL
22   CORPORATION, a California corporation,
                               Defendants.
23
     ORACLE AMERICA, INC., a Delaware
24   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,
25                       Counterclaimants,
            v.
26
     RIMINI STREET, INC., a Nevada corporation;
27   SETH RAVIN, an individual,
                       Counterdefendants.
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                         ORACLE’S NOTICE OF CHANGE OF ADDRESS
          Case 2:14-cv-01699-LRH-DJA Document 1241 Filed 07/11/19 Page 2 of 3



 1          TO ALL PARTIES AND THE CLERK OF THE COURT:

 2          The below attorneys for Counterclaimant Oracle America, Inc. and Defendant and

 3   Counterclaimant Oracle International Corporation (together, “Oracle”) file this Notice of Change

 4   of Address and request that the Court’s docket in the above-captioned case be updated

 5   accordingly.

 6          PLEASE TAKE NOTICE effective July 8, 2019 the address for Oracle’s counsel Steven

 7   C. Holtzman, Kathleen R. Hartnett, Sean Phillips Rodriguez and Beko O. Reblitz-Richardson at

 8   Boies Schiller Flexner LLP is changed to:

 9                                                BOIES SCHILLER FLEXNER LLP
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10                                                41st Floor
                                                  San Francisco, CA 94104
11                                                Main: 415-293-6800
                                                  Fax: 415-293-6899
12

13
     DATED: July 11, 2019                        BOIES SCHILLER FLEXNER LLP
14

15
                                                 By: /s/ Kathleen R. Hartnett
16                                                  Kathleen R. Hartnett
                                                    Attorneys for Defendants and Counterclaimants
17                                                  Oracle America, Inc. and Oracle International
                                                    Corp.
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                           ORACLE’S NOTICE OF CHANGE OF ADDRESS
          Case 2:14-cv-01699-LRH-DJA Document 1241 Filed 07/11/19 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE

 2          I certify that on July 11, 2019, I electronically transmitted the foregoing ORACLE’S

 3   NOTICE OF CHANGE OF ADDRESS to the Clerk’s Office using the CM/ECF System for

 4   filing and transmittal of a Notice of Electronic Filing to all counsel in this matter; all counsel are

 5   CM/ECF registrants.

 6

 7    Dated: July 11, 2019                                  BOIES SCHILLER FLEXNER LLP

 8

 9                                                By:                 /s/ Ashleigh Jensen

10                                                                    Ashleigh Jensen

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                                        CERTIFICATE OF SERVICE
